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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

IN RE:
Case No. 10-40362-HRT
MELISSA M. MOUNT

XXX-XX-4584

and

Chapter 11

)
)
)
)
)
)
GREG T. MOUNT )
XXX-XXK-6884 )
)
)

Debtors.

MOVANT'S CERTIFICATE OF NON-CONTESTED MATTER AND REQUEST FOR
ENTRY OF ORDER
(MOTION FOR APPROVAL AND USE OF RETAINER)

On December 3, 2010, the Debtors, Movant, filed a motion or application pursuant to L.B.R.
9013-1 entitled Motion for Approval and Use of Retainer.

Movant hereby certifies that the following is true and correct:

I. Service of the motion/application, notice and proposed order were timely made on all
parties against whom relief is sou ght and those otherwise entitled to service pursuant to the Fep. R.
BANRR. P. and the L.B.R. as is shown on the certificate of service, L.B. Form 9013-1 .2, previously
filed with the motion/application on December 3, 2010.

2. Mailing or other service of the notice was timely made on all other creditors and parties in
interest pursuant to L.B.R. 9013-1 and 2002-1 (or in the manner permitted by an order of the court, a
copy of which is attached), as is shown on the certificate of service, L.B. Form 901 3-1.2, previously
filed with the notice on December 3, 2010,

3. The docket numbers for each of the following relevant documents are:
a. the motion and all documents attached thereto and served therewith,
(Docket No. 7);
. the notice, (Docket No. 8);
cC. the certificate of service of the motion and the notice, (Docket No. 7 and
8);
d. the proposed order (Docket No. 7)
4. No objections to or requests for hearing on the motion/application were received by the

undersigned, or filed with the court and docketed in the case file by the date designated in the notice,
or have been resolved by Docket No. 7.
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WHEREFORE, Movant prays that the court forthwith enter an order, a form of which
was submitted to the Court, granting the requested relief.

Dated: December , 2010 Respectfully submitted,

By:

Coen

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